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                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF NEW YORK



 GOVERNMENT OF THE UNITED STATES
 VIRGIN ISLANDS,                                      Case No. 22-cv-10904-JSR
                          Plaintiffs,
                                                      DECLARATION OF ANDRES
  v.                                                  O’LAUGHLIN IN SUPPORT OF
                                                      APPLICATION FOR ADMISSION PRO
 JPMORGAN CHASE BANK, N.A.,                           HAC VICE
                          Defendant.




         I, Andres O’Laughlin, declare under penalty of perjury that the following is true and

correct:

         1.     I am counsel with the law firm of Wilmer Cutler Pickering Hale and Dorr LLP. I

am eligible to practice and a member of good standing in the state of Massachusetts. A Certificate

of Good Standing is appended hereto. I submit this declaration in support of my motion for

admission to practice pro hac vice in the above-captioned matter.

         2.     I have not been convicted of a felony.

         3.     I have not been censured, suspended, disbarred, or denied admission or

readmission by any court.

         4.     There are no pending disciplinary proceedings against me in any State or Federal

court.

         Wherefore Andres O’Laughlin respectfully submits that he be permitted to appear as

         counsel and

advocate pro hac vice in this one case.


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Dated: May 1, 2023                    Respectfully submitted,

                                       /s/ Andres O’Laughlin
                                       Andres O’Laughlin
                                       WILMER CUTLER PICKERING
                                       HALE AND DORR LLP
                                       60 State Street
                                       Boston, MA 02109
                                       Tel.: (617) 526-6515
                                       andy.olaughlin@wilmerhale.com
                                       Attorney for Defendant JPMorgan
                                       Chase Bank, N.A.




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